       Case 1:11-cr-00052-JLT Document 13 Filed 02/18/11 Page 1 of 2



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 8              IN THE UNITED STATES DISTRICT COURT FOR THE

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,    )        NO. 1:11-CR-00052-LJO
                                  )
12                  Plaintiff,    )        EX PARTE APPLICATION AND ORDER
                                  )        TO UNSEAL INDICTMENT
13        v.                      )
                                  )
14   TIMOTHY DUANE, LORENA DUANE, )
     BOUNSOU VORSANE, and KAY     )
15   VIENGKHAM,                   )
                                  )
16                  Defendant.

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18        COMES NOW THE UNITED STATES OF AMERICA appearing through the

19   undersigned Assistant United States Attorney and moves this

20   Honorable Court for an order unsealing the Indictment in the

21   above-referenced case as all Defendants have been apprehended.

22   DATED: February 18, 2011

23                                            Respectfully submitted,

24                                            BENJAMIN B. WAGNER
                                              United States Attorney
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26                                            By: /s/ Yasin Mohammad
                                                 YASIN MOHAMMAD
27                                               Assistant U.S. Attorney

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        Case 1:11-cr-00052-JLT Document 13 Filed 02/18/11 Page 2 of 2



 1
                                    ORDER TO UNSEAL
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              Upon application of the United States and good cause having
 3
     been shown,
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              IT IS HEREBY ORDERED that the Indictment, bearing case number
 5
     1:11-CR-00052-LJO, is hereby ordered unsealed.
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     IT IS SO ORDERED.
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     Dated:     February 18, 2011             /s/ Sheila K. Oberto
10   ie14hj                           UNITED STATES MAGISTRATE JUDGE

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